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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re Chapter 11
ENERGY FUTURE Case No. 14-10979 (CSS)
HOLDINGS CORP., et al.,
(Jointly Administered)
Debtors.
CSC TRUST COMPANY OF

DELAWARE, as INDENTURE TRUSTEE,

Plaintiff,

Adversary Proceeding

v. No. 14-50363 (CSS)

ENERGY FUTURE INTERMEDIATE

Nee ee ee ee ee Ne es Se ee ee ee Name Nene Ne ee ee ee ee

HOLDING COMPANY LLC and
EFIH FINANCE INC.,
Defendants.
AFFIDAVIT OF SERVICE
STATE OF DELAWARE
SS
NEW CASTLE COUNTY

Pauline Z. Ratkowiak, being duly sworn according to law, deposes and says that she is
employed as a Paralegal at the law firm Cole, Schotz, Meisel, Forman & Leonard, P.A., and that
on May 21, 2014, she caused a copy of the Notice of Service of First Set of Document
Requests to Debtors to be served via First-Class Mail, postage prepaid, on the following parties:

James H.M. Sprayregen, P.C. Richard Cieri Esquire
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SWORN TO AND SUBSCRIBED
before me this 21" day of May, 2014

LAN Ww ol ATI

Notary Br ic

2 Kiba i Stahl
Notary Public State of Delawa
My Commission Expires 1/06/2015
